Case 8:19-bl<-02347-RCT Doc 1 Filed 03/19/19 Page 1 of 7

Fi|l m this information to rdontify your casei " = § :'r 'r:: '.'¢ \
7 ii _ _ ;l r:r'

!
§ United Slates Bankruptcy Court for the:
l Middle Dism'cr or Florida

l

7 Case number (rrknown);

Chapter you are filing under:
Chapter 7

\;l Chapter 11

Cl chapter 12

n Chapter 13

F»&,

" - _ : '_".-.\; ¢.`-\,'-..
.r ,; . .

E] check ifthis is an
amended filing

 

Official Form 101

Voluntary Petition for lndividuals Filing for Bankruptcy

\
/_§K \\,\/`\93

12!17

 

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint cash-and In joint cases, these forms use you to ask for information from both debtors For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separateiy, the form uses Debtor 1 and
Debtor 2 to distinguish between them. ln joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The

same person must be Debtor 1 in all of the forrns.

Be as complete and accurate as possible. lf two married people are filing together. both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this fonn. On the top of any additional pages, write your name and case number

(if known). Answer every question.

 

mdentlfy Yourself

 

 

 

5 Abotrt Debinr_ii: z _ About Dehtor 2 tSpouse Only In a Jolnt Case):
§ -
f 1. Your full name

Wrile the name that is on your -

government-issued picture Mar'a qose

identification (for examplel F'm name F"St name

your driver's license or E R

passport)_ Middle name Middle name

B,.i,,g your picture Si|verio Travieso

identihcation to your meeting Last name La$f name

Wilh lhe trquEe.

Sufflx (Sr,, Jr,1 ||, l||)

Suflix (Sr., Jr,_ ll, ll|)

 

2. All other names you
have used in the last 8

 

 

 

 

 

 

 

 

(lTlN)

Offrcial Form 101

Voluntary Petition for |ndividua|s Fi|ing for Bankruptcy

First name First name
years
|nc|ude your married or Middle name Middie name
maiden names.
Last name Last name
First name Fl`rst name
Middle name M`rdd|e name
Last name Last name
3. On|y the last 4 digits of
your Social Security xxx - xx - 8 5 0 5 xxx _ xx - 9 3 9 9
number or federal 0R 0R
individual Taxpayer
identification number 9 xx ” xx __ _ _ _ 9 xx ” Xx __

page 1

 

 

 

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Debtor 1 Maria E Si|verio Case number irm-nmi
First Name Middie Name Last Name
mut nom 1& mut oevwr 2 (spouse only in a .rurm amy

4. Any business names
and Emp|oyer
identification Numbers
(E|N) you have used in
the last 8 years

include trade names and
doing business as names

m l have not used any business names or E|Ns.

m l have not used any business names or Ele.

 

Eiusiness name

Business name

 

Business name

M_

§§-

Business name

 

5. Where you live

11312 Laurel Crest Lane

 

 

 

 

Number Street

Tampa F| 33624
city state ziP code
Hi|lsborough

County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

 

 

 

if Debtor 2 lives at a different address:

11312 Laurei Crest Lane

 

 

 

 

Nurnber Street

Tampa F| 33624
C`rty State Z|P Code
Hi||sborough

County

lf Debtor 2's mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address

 

 

 

 

Number Streot Nurnber Street

PrO. Box P.O. Box

Cifv State ZlP code City Siare er sane
s. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

a Over the last 180 days before H|ing this petition.
l have lived in this district longer than in any
other district

a l have another reason Exptain.
(See 28 U.S.C. § 1408.)

 

 

 

 

m Over the last 180 days before filing this petition,
l have lived in this district longer than in any
other district

n l have another reason Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

Ofiic`ial FOn'n 101

Voluntary Petition for individuals Fi|ing for Bankruptcy

page 2

 

 

senior 1 Mai'ia

Frrst N!r\'lo

-T¢ll the Court About Your Bankruptcy Case

Check one, (For a brief description of each, see Notice Required by 11 U.S.C. § 342{¢.\} for individuais Fiir`ng

r. The chapter of the
Bankruptcy Code you
are choosing to tile

under

Case 8:19-bi<-02347-RCT Doc 1 Filed 03/19/19 Page 3 of 7

E Silverio

Middie Name Last Name

m Chapter 7

l;l Chapter 11
';l C'napter 12
Cl Chapter 13

Case number (i'fkncwn;

 

for Bankmptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

 

s. How you will pay the fee

Cl | will pay the entire fee when | file my petition Piease check with the cierl<’s office in your

local court for more details about how you may pay Typicaiiy, if you are paying the fee
yourself you may pay with cash cashier’s check, or money order. if your attorney is
submitting your payment on your beha|f, your attorney may pay with a credit card or check

with a pre-printed address

E | need to pay the fee in installments if you choose this option, sign and attach the
Appiication for individuals to Pay The Fiiing Fee in installments (Officiai Form 103A).

El | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your famiiy size and you are unable to
pay the fee in installments). ii you choose this option, you must fill out the Appiication to Have the
Chapter 7 Fiiing Fee Waived (Official Form 1038) and file it with your petition

 

 

 

 

9. Have you filed for C| No
:;;\;lg\;:;¢r;;"“““ the m Yes_ osm Mudie Disirici Fi When cans/2013
MMi DDIYYYY
Distn'ct When
MM/ DDiYV¥Y
Distn`ct When

10. Are any bankruptcy

 

mNo

cases pending or being

fried by a spouse who is m Y€S- Debtor
not filing this case with
you, or by a business
partner, or by an

affiliate?

11. Do you rent your

residence?

thr.‘,ia| Form 101

MMil DDr"(¥Y¥

 

 

 

 

Disti'ict When

MM i DD i YYYY
Debtor
District When

MM .'DD.' VYYY

3 No_ eo in line 12.

a Yes. Has your landlord obtained an eviction judgment against you?

l;l No. Go to line 12.

Case number

Case number

Reiationship to you

Case number. i'f known

Re|ationship to you

Case number, `rf known

n ¥es. i-'iii out initial Statement About an Evictr`on Judgment Agar'nst You (Fonn 101A) and file it as
part of this bankruptcy petition

Voluntary Petltion for individuals Fi|ing for Eiankruptcy

page 3

 

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mwa Maria E SilVeriO Case number iiiimwni

 

 

Firsl Name Midde Name Lm Name

mpd Abouf. Any Buslnessas Ynu Own as a Sole Propl'ie\or

 

12. Are you a sole PrOPl'iefOl' il No. Go to Pan 4r
of any fu||- or part-time
business? cl Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

acor r ' n. arlnershi ,or
LLC_pU abc p p Nurnber Slreet

 

Name of business if any

 

li you have more than one
sole proprietorship. use a
separate sheet and attach it

 

 

to this petition. my ama Z|P Code
Check the appropriate box to describe your business:
n Heaith Care Business (as defined in 11 U.S.Cr § 101 (27A))
n Single Assel Real Estate (as defined in 11 U.S.C. § 101(51B))
n Stockbroker (as defined in 11 U.S.C. § 101(53A))
ij Commodity Broker (as defined in 11 U.S.C. § 101(6))
l;l None of the above
13. Are you filing under lf you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines li you indicate that you are a small business debtor, you must attach your
Bankruptcy code and most recent balance sheet, statement of operationsl cash-flow statemenl. and federal income tax return or if
are you a sma” business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
debtor?
_ _ m No. l am not ming under Chapter 11.
For a definition of small
business damon 533 n No. l am filing under Chapter 11, but l am NOT a small business debtor according to the dennition in
11 U.S.C. § 101(51|3)- the Bankruptcy Code.

\;l Ves. | am filing under Chapter 11 and l am a small business debtor according to the definition in the
Bankruptcy Code.

mpd lf Yol.l own or Have Any Hazardous Property or Any Property That Needs lmmediate Attention

 

14. Do you own or have any m No
property that poses or is

 

aneng to pose a threat m Y€S. What is the hazard?
of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property that needs lf immediate attention is needed why is it needed'?

 

immediate attention?
For example do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

 

Number Street

 

 

city stare ziP code

Official Form 101 Voluntary Fetition for lndivicluals F|llng for Bankruptcy page 4

 

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Debtor 1 Maria E

Firsi Name Midde Name

Silverio

Last Name

Case number iii known

M:plain ¥our El'forts to R¢ceive a Bri¢&rlg About Credi't Counseling

 

15. Te|| the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you tile for
bankruptcy. You must
truthfully check one of the
following choices. |f you
cannot do so. you are not
eligible to hle.

if you tile anyway, the court
can dismiss your case. you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Otiicia| Form 101

AboutDobtorfl: Ahoutbebtorzt$pousoonlyina.lolntcase):

You must check one.' You must check orie.'

g l received a briefing from an approved credit m l received a briefing from an approved credit

counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency

cl l received a briefing from an approved credit

counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion

Within 14 days after you file this bankruptcy pelition.
you MUST file a copy of the certificate and payment
plan, if any.

l:l l certify that | asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy. and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy

|f the court is satisfied with your reasons, you must
still receive a briefing within 30 days alter you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. lf you do not do so. your case
may be dismissed

Any extension of the 130-day deadline is granted

only for cause and is limited to a maximum of 15
days.

n l am not required to receive a briefing about

credit counseling because of:

|;l lncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

n Dlsability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone. or
through the internet, even after l
reasonably tried to do so.

m Active duty. l am currently on active military
duty in a military combat zone.

lf you believe you are not required to receive a
briefing about credit counseling you must E|e a
motion for waiver of credit counseling with the court.

counseling agency within the 180 days before l
filed this bankruptcy petitionl and l received a
certificate cf completion.

Attach a copy of the certificate and the payment
plan, if anyl that you developed with the agency.

m l received a briefing from an approved credit

counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST tile a copy of the certificate and payment
plan, if any.

n l certify that l asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request. and exigent
circumstances merit a 550-day temporary waiver
of the requirement

To ask for a 30-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briehrig, why
you were unable to obtain it before you filed for
bankruptcyl and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for nol receiving a
briefing before you filed for bankruptcy

lf the court is satisfied with your reasons you must
still receive a briefing within 30 days after you file.
Vou must tile a certificate from the approved
agency, along with a copy of the payment plan you
developed if any. |f you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days

m l am not required to receive a briefing about

credit counseling because cf:

n |ncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

n Dlsabi|ity. le physical disability causes me
to be unable to panicipale in a
briefing iri person` by phone, or
through the internet, even after l
reasonably tried to do so.

g Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling you must file a
motion for waiver of credit counseling with the court.

Voluntary Petitlon for individuals Fi|ing for Bankruptcy page 5

 

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Deblorl Ma|'la E

Fiist Name Midcle Name

Si|verio

LBS!Nnme

Caee number ll'linownl

Ansvver These Questioi'ls for Reporting Purposes

 

ie. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by arl individual primariiy for a personal, family, or household purpose."

Ei No. colo line lab
Ei Yes. Golo line lr.

lsb. Are your debts primarily business debts? Busl'rless debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment

m No. Go to line 16c.
El vos. Goio line 17_

160. Slate the type of debts you owe that are not consumer debts or business debts.

 

 

11. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is

lIi No. l am nol filing under cnapler 7. colo line 18.

m Yes. l am liling under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

excluded and g No
administrative expenses
are paid that funds will be n Yes
available for distribution
to unsecured creditors?
ia. How many creditors do Ei 149 Ci 1,000~5,000 Cl 25,001-50,000
you estimate many El sess Ci 5,001-10,000 El 50,001-100,000
°W°? El 100»199 Cl 10,001-25,000 Cl Morelnan 100,000
|Zl 200-999
is. How much do you El $0-$50.000 El $1,000,001-$10 million El s500,000,001-s1 billion

estimate your assets to
be worth?

: 20. How much do you
estimate your liabilities
to be?

Sign Belovv

For you

Ofiicia| Form 101

El sso,ool-$loo,ooo
iii sloo,ool-ssoo,ooo
Ci ssoo,ooi-si million

D $0-$50.000

Ei $50,001»$100,000
E sioo,ool-$soo,ooo
C] $500.001-$1 million

El $10,000.001-$50 million
|Zl $50,000,001-$100 million
El $100,000.001-$500 million

ill sl,ooo,ooi~$io million

Ei s10.000,001-$50 million
Ei sso,ooo,ooi's‘loo million
El $100,000_001-5500 million

El s1‘ooo,ooo.oo1-s10 billion
|Zl sloiooo,ooo,ooi-$so billion
El More than $50 billion

Ei 5500.000,001-31 billion

lIl si,ooo,ooo.ool-sto billion
iii sio,ooo,ooo,oo‘l-$so billion
n More than $50 billion

| have examined this peliiion, and l declare under penalty of perjury that the information provided is true and

correct

if l have diosen to tile under Chapter 7, | am aware that l may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. i understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

if no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document l have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11. United States Code. specified in this pelition.

l understand making a false statement concealing property or obtaining money or property by fraud in connection

with a bankn.lplcy case can result i fines up to $250.000, or imprisonment for up to 20 years, or

 

Voluntary Petition for individuals Fi|ing for Bankruptcy

fDD

W. j ,`,_,t_.h……,. ~_W__.v

nature o De tor2

Executed on 03;1 8120'\9
m

b.

   
    
  
   

,' cna umw

 

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newa Ma ria E Silverio ease number rim

Fiist Name Midde Name Lastame
For you if you are filing this The law allows you. as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an shoutd understand that many people find it extremely difficult to represent
aff°l`l’\ey themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

lf you are represented by
an attorney, you do not To be successfu|, you must correctly file and handle your bankruptcy case. The rules are very

need to file this page.

 

OFficial Form 101

technica|, and a mistake or inaction may affect your rights. For examp|e, your case may be
dismissed because you did not file a required documentl pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trusteel bankruptcy administrator, or audit
firm if your case is selected for audit lf that happens, you could lose your right to file another
case, or you may lose protectionsl including the benefit of the automatic stay.

¥ou must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. |f you do not list a debt, the debt may not be discharged lf you do not list
property or properly claim it as exempt, you may not be able to keep the properfy. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records. or lying. individual bankruptcy
cases are randomly audited to determine if debtors have been accurate. truthfull and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

|f you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

n No
m Ves

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned'?

El No
a Ves

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

ENo

n Yes. Name of Person _
Attach Bankruptcy Petr`tion Preparer's Nofr`ce, Declaratr`on, and Signature (Officia| Form 119).

By signing here, l acknowledge thatl understand the risks involved in filing without an attorney l
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me lo my rights or property if l do not properly handle the case.

x away

Signature webtor 1 `

 
   
    

 

Signature of Debl:or 2

 

 

pate 03/1 812019 pate 03/1 8/20‘| 9
MM/DD /Y¥Yv l\illlllil DD ,'YYY
Contact phone (813) 388-7071 Comac, phone (W_
cell phone Ceil phone
Email address small address

 

 

MWMWMAMWW>&MWM$MM. '.'Wzéas 'M‘wstaax sw WM¢MMNWWMMEM

Voluntary Petition for individuals Fi|ing for Bankruptcy page B

 

